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                                             #:1705

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12
13                                UNITED STATES DISTRICT COURT
14                              CENTRAL DISTRICT OF CALIFORNIA
15                                         WESTERN DIVISION
16
     K.A.,                                            Case No. 2:24-cv-04786-WLH-ADS
17
                           Plaintiff,                 Hon. Wesley L. Hsu
18
                                                      PROOF OF SERVICE
19             v.
20   MINDGEEK S.A.R.L., et al.,
21                         Defendants.
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      AMERICAS 127811939                                                       PROOF OF SERVICE
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                                         #:1706

 1             I, Annel Cruz, hereby declare that I am over 18 years of age and not a party
 2   to this action. My business address is 555 S. Flower Street, Suite 2700, Los
 3   Angeles, CA 90071.
 4             On October 30, 2024, I served copies of the following documents on a
 5   counsel for each party by email with a file-transfer link to download the documents:
 6             1) (ECF No. 74) Declaration of Kevin Adam in Support of Defendants
 7                   Colbeck Capital Management, LLC; CB Media Ventures DD, LLC; CB
 8                   Agency Services, LLC; and CB Participations SPV, LLC’s (collectively,
 9                   “CB Defendants”) Application to Seal;
10             2) (ECF No. 74-1) CB Defendants’ Omnibus Motion to Dismiss with
11                   Memorandum of Points and Authorities;
12             3) (ECF No. 74-2) Declaration of David G. Hille in Support of CB
13                   Defendants’ Motion to Dismiss;
14             4) (ECF No.74-3) Exhibit A; and
15             5) (ECF No. 74-4) Exhibit B.
16
17             Executed on October 30, 2024, at Los Angeles, California.
18
                                                  /s/ Annel Cruz
19                                                   Annel Cruz
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      AMERICAS 127811939                                                   PROOF OF SERVICE
